NEIL M. BAROFSKY, Partner

Neil M. Barofsky is an accomplished trial lawyer and well-known authority on a
variety of issues at the intersection of economics, law, business, policy and
politics. Drawing upon his experience as a former federal prosecutor and as the
Presidentially appointed first special inspector general of the historic US$700
billion Troubled Asset Relief Program (TARP), Mr. Barofsky assists companies
seeking to improve their corporate culture through compliance counseling and
monitorships, as well as assisting clients in responding to regulatory and
criminal investigations. He is chair of Jenner & Block's Monitorship Practice.

As head of Jenner & Block’s COVID-19 Response Team, Mr. Barofsky counsels
clients on how to navigate the crisis and the government’s response to the
global pandemic. He is a regular commentator in national print, radio and TV
media, focusing on the CARES Act and related government stimulus legislation,      NEIL M. BAROFSKY
including authoring op-eds published by The New York Times and Bloomberg.          Partner
Mr. Barofsky has also been a resource to lawmakers through the crisis,
                                                                                   NEW YORK
testifying in July 2020 at a hearing before the US Senate Committee on             Office: 212 891-1675
Homeland Security and Governmental Affairs on the relief programs’                 Fax: 212 909-0875
effectiveness, improving oversight, and legislation that Congress should take      Email: nbarofsky@jenner.com
into account as it considered authorizing additional programs and funding. Mr.
Barofsky draws upon his time as SIGTARP where he established and                   PRACTICE GROUPS
                                                                                   Financial Services Litigation
supervised the audit division that oversaw the financial assistance provided to    Government Controversies and Public Policy
corporations after the 2008 financial crisis, and provided real-time advice and    Litigation
oversight as the US Department of Treasury developed and implemented many          Investigations, Compliance and Defense
                                                                                   Litigation
of the TARP programs. Mr. Barofsky also created and oversaw its law                Monitorship Practice
enforcement division, which conducted the criminal and civil investigations of     Securities Litigation and Enforcement
those who abused the bailouts, and helped provide transparency through his         State Enforcement and Regulation
testimony dozens of times to Congress.                                             INDUSTRY GROUPS
                                                                                   COVID-19 / Coronavirus Resource Center
Mr. Barofsky also focuses on white collar investigations and complex
                                                                                   EDUCATION
commercial litigation, often with a public interest component. In 2019, New York   New York University School of Law, JD,
Law Journal recognized him as a "New York Trailblazer" for his work on             1995; magna cum laude; Order of the Coif
monitorships. In 2015, he was named one of The National Law Journal’s              University of Pennsylvania, Wharton School
"Winning" litigators as well as a regulatory and compliance "Trailblazer."         of Business, BS, 1992; magna cum laude

While not exhaustive, Mr. Barofsky’s recent engagements include:                   University of Pennsylvania, College of Arts
                                                                                   and Sciences, BA, 1992; magna cum laude;
    Appointed monitor to Credit Suisse Securities (USA) LLC following its $5.3     with distinction
    billion settlement with the US Department of Justice over the sales of         ADMISSIONS
    residential mortgage-backed securities in the run-up to the 2008 financial     New York
    crisis.                                                                        COURT ADMISSIONS
                                                                                   US Supreme Court
    Appointed monitor to Credit Suisse AG following the bank’s $715 million
                                                                                   US District Court, Southern District of New
    settlement with the New York Department of Financial Services, part of a       York
    broader $2.6 billion settlement that involved the US Department of Justice
                                                                                   US District Court, Eastern District of New
    and federal regulators.                                                        York
    Secured a victory before the California Court of Appeal for non-profit
    homeowner advocacy groups in civil litigation against the California
    governor and other state officials over the misappropriation of more than
    $331 million in mortgage settlement relief funds.
    Representation of senior executives at CEO and Director level in state and federal criminal and regulatory
    investigations.

    Advisor to major hedge funds regarding complex litigation and Congressional matters.

    Serving as expert witness in significant complex commercial litigation involving a major regional bank.

In his role as chief watchdog for TARP, he created and oversaw a law enforcement division that conducted criminal and
civil investigations of fraud and abuse linked to the bailout program, resulting in recoveries or avoided losses of more than
$700 million in taxpayer money and which has led to more than 360 fraud convictions to date. He also established and
oversaw an audit division that created reports that brought greater transparency and accountability to TARP,
recommended ways to improve the program, and which protected taxpayers from fraud-related losses.

Previously, Mr. Barofsky spent eight years as a prosecutor in the US Attorney’s Office for the Southern District of New
York. There, he served in the Securities and Commodities Fraud Unit and later founded and led the office’s Mortgage
Fraud Group as Senior Trial Counsel. He investigated and prosecuted some of the most significant cases in the United
States, including the successful investigation, trial and conviction of former Refco, Inc. officers for their promotion of and
participation in a $2.4 billion securities and accounting fraud. As a member of the International Narcotics Trafficking Unit,
Mr. Barofsky investigated and prosecuted complex transnational narcotics cases, including the successful investigation
leading to the indictment of the top 50 leaders of the terrorist Revolutionary Armed Forces of Colombia (FARC), the
largest narcotics indictment in US history.

For his work in the Refco matter, Mr. Barofsky received the US Attorney General’s John Marshall Award, the Department
of Justice’s highest award for excellence in legal performance, and the Executive Office of the United States Attorneys’
Director’s Award for Superior Performance.

Immediately before joining Jenner & Block, Mr. Barofsky was Senior Fellow at New York University School of Law’s
Center on the Administration of Criminal Law, an adjunct professor at the law school and affiliated with the Mitchell
Jacobson Leadership Program on Law and Business. He is a frequent speaker and commentator on issues related to
financial regulation, was a senior contributing editor for Bloomberg TV, and has written opinion columns for publications
such as The New York Times, the Financial Times, The New Republic, Bloomberg, Reuters and others. He is also the
author of Bailout, his bestselling book about his experiences as SIGTARP.

At Jenner & Block, Mr. Barofsky serves on the firm’s Management Committee.

Awards

    Attorney General’s John Marshall Award – 2007

    Chambers USA
    Litigation: White-Collar Crime & Government Investigations, 2017, 2018

    Executive Office of the United States Attorneys’ Director’s Award – 2008

    Lawdragon 500 Leading Lawyers of America

    Legal 500
    Dispute Resolution - Corporate Investigations and White-Collar Criminal Defense, 2017

    National Law Journal
    Regulatory and Compliance Trailblazer, 2015
    "Winning" Litigator, 2015

    New York Law Journal
    "New York Trailblazer - Monitorships" - 2019
Publications

    “How Steve Mnuchin Snubbed Joe Biden,” The New York Times, November 20, 2020

    Co-Author, Client Alert: Loaded for Bear: An Overview of the Federal Reserve’s Corporate Credit Facilities, August
    12, 2020

    The Guide to Monitorships – Second Edition, June 2020

    Co-Editor, Client Alert: Ready for Launch (Redux)? An Updated Analysis of the Federal Reserve’s Rapidly Changing
    Main Street Lending Facilities, June 15, 2020

    Co-Author, Client Alert: Here We Go Again: Congress Again Amends the Paycheck Protection Program in Response
    to Criticism, but Is It the Last Time?, June 12, 2020

    Co-Editor, Client Alert: Ready for Launch? An Analysis of the Federal Reserve’s Main Street Lending Facilities, June
    2, 2020

    Co-Author, Consumer Finance Observer – Spring 2020, May 14, 2020

    “Why the Small-Business Bailout Went to the Big Guys,” Bloomberg, May 1, 2020

    Co-Author, Client Alert: Legislative and Regulatory Update: A Busy Month for the Paycheck Protection Program, April
    27, 2020

    Co-Editor, Client Alert: Regulatory Alert: An Analysis of the Federal Reserve’s New and Expanded Programs to
    Support the US Economy, April 14, 2020

    Co-Author, Client Alert: Treasury and SBA Launch New Small Business Lending Program Amidst Confusion and Last
    Minute Changes – An Analysis of the New Program, April 3, 2020

    Editor, Client Alert: Legislative Update: An Analysis of the Historic $2 Trillion CARES Act, March 30, 2020

    Editor, The Guide to Monitorships, June 2019

    Co-Author, "Changing Corporate Cultures,”The Guide to Monitorships, June 2019

    Co-Author, Client Alert: U.S. v. Newman: Second Circuit Reverses Remote Tippees' Convictions for Insider Trading
    Where Tippers Never Charged, December 22, 2014

    Bailout: An Inside Account of How Washington Abandoned Main Street While Rescuing Wall Street, Free Press, 2012

    “An Unlikely Hero Takes A Stand Against The Big Banks,” Bloomberg View, March 14, 2013

    “Geithner Doctrine Lives on in LIBOR Affair,” Financial Times, February 7, 2013

    "The Monster Is Alive and Is Still Too Big to Fail,” Yahoo! Finance, August 21, 2012

    “Tim Geithner’s Principal Hypocrisy,” Reuters, August 6, 2012

    “Foreclosure Crisis Lessons Not Yet Learned,” Huffington Post, October 15, 2011

    “Washington Follows Path to Credibility Downgrade,” Bloomberg View, July 27, 2011

    “Broken Promises,” New York Times, July 11, 2011

    "Lessons from the Crisis” adapted from the VoxEU.org eBook Dodd-Frank: One Year On, Huffington Post, July 7,
    2011
   “Where The Bailout Went Wrong,” New York Times, March 29, 2011

Speaking Engagements

   Panelist, “Enforcement Compliance and Trends from a US Perspective,” Anti-Corruption and Compliance Summit
   2020, Berlin, September 14, 2020

   Panelist, “Enforcement and the Coronavirus Stimulus -- Lessons and Predictions from TARP Insiders,” ABA White
   Collar Crime Sub-Committee on Public Corruption, June 04, 2020

   “Changing and Maintaining Your Culture of Compliance – Through the Eyes of a Government-Appointed Monitor",
   February 12, 2019

   “The Legacy of the Bailouts: Where Are We Now?” The Graduate Center at the City University of New York,
   November 28, 2018

   “Corporate Response to Crisis – What Happens When Your Company is Under Scrutiny,” Association of Corporate
   Counsel of New York City, April 26, 2017

   Letter of Credit Law Summit, Jenner & Block, October 27, 2016

   Moderator, 8th annual Global Ethics Summit, Ethisphere, March 09, 2016

   “SEC Enforcement: Is More Needed?” Columbia Law School, November 14, 2013

   “Challenges of the TARP Program and Impact on Alternative Assets,” Duff & Phelps Seventh Annual Alternative
   Investments Conference, November 14, 2013

   “Rewriting Dodd-Frank,” New York Times’ DealBook Conference, November 12, 2013
